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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 UNITED STATES OF AMERICA ex rel.
 TINA HAIGHT

                           Plaintiff-Relator,
                                                               Civil Action No. 3:16-cv-1975-S
          v.

 RRSA (COMMERCIAL DIVISION), LLC,                              JURY TRIAL DEMANDED
 et al.,

                           Defendants.

                 NOTICE OF SETTLMENT AND JOINT MOTION TO STAY

        Plaintiff-Relator Tina Haight (“Haight”), and Defendants RRSA (Commercial Division), LLC,

Roofing and Restoration Services of America, LLC, RRSA Commercial Roofing, Inc., Haight

Construction Management Services, Inc., Corey S. Sanchez, Jon R. Seymore, Jennifer N. Seymore,

and Ronald Scott Nichols (collectively “Defendants”) respectfully file this Notice of Settlement and

Joint Motion to Stay (the “Motion”) and, in support thereof, would show as follows:

        1.       On April 8, 2022, the parties entered into a binding Settlement Term Sheet to resolve

all claims in this suit.

        2.       Under the Settlement Term Sheet, the terms of the Final Settlement Agreement will

be finalized and the settlement amount will be owed within thirty (30) days of the Settlement Term

Sheet or within thirty (30) days of a Final Settlement Agreement, whichever is later.

        3.       In order to permit the parties to devote their resources to working with the United

States in negotiating an acceptable Final Settlement Agreement, the parties respectfully request the

Court abate the Third Amended Scheduling Order (Dkt. # 168), stay all remaining deadlines, and set

this matter for status conference to be held via Zoom on Friday, June 3, 2022.




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       4.      This request is made solely for the purpose of expediting settlement and for no other

reason. The parties request the Court grant the Motion and enter the accompanying proposed Order.

Dated: April 13, 2022

Respectfully Submitted,

/s/ Darren Nicholson                                 /s/ Gretchen McGill
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HAIGHT
                                                     COUNSEL FOR DEFENDANTS RRSA
                                                     (COMMERCIAL DIVISION), LLC;
                                                     ROOFING & RESTORATION
                                                     SERVICES OF AMERICA, LLC; RRSA
                                                     COMMERCIAL ROOFING, INC.;
                                                     HAIGHT CONSTRUCTION
                                                     MANAGEMENT SERVICES, INC.;
                                                     TURCO CONSTRUCTION INC.;
                                                     ANDREW’S ROOFING &
                                                     RESTORATION; COREY S. SANCHEZ;
                                                     JON R. SEYMORE; JENNIFER N.
                                                     SEYMORE AND RONALD SCOTT
                                                     NICHOLS


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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served on

this day April 13, 2022 via email to all counsel of record.


                                                /s/ Darren Nicholson
                                                Darren Nicholson




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